Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 1 of 12




                    Exhibit 2
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 2 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 3 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 4 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 5 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 6 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 7 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 8 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 9 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 10 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 11 of 12
Case 2:18-cv-00556-TSZ Document 15-4 Filed 11/21/18 Page 12 of 12
